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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )                    4:09CR3031
                                             )
              v.                             )
                                             )
MICHAEL KONING, LOWELL                       )        MEMORANDUM AND ORDER
BAISDEN, SUSAN BAISDEN-                      )
KONING,                                      )
                                             )
                      Defendants.            )



       The Cline-Williams firm represents Susan Baisden-Koning. My law clerk, Bren
Chambers, previously worked for the Cline-Williams firm as an associate while the above-
captioned case was pending in this forum. Mr. Chambers has never worked on this case,
either at the Cline-Williams firm or at this court, he will not work on it in the future, and he
will be screened from any contact or discussions about the case. Cf. Advisory Opinion No.
51, available at http://www.uscourts.gov/RulesandPolicies/CodesofConduct (click on
Published Advisory Opinions). The disqualification of a federal judge’s law clerk does not
create a basis for disqualification of the federal judge. Id.


       IT IS ORDERED:

       1)     Mr. Chambers has done no work and shall do no work on this case, and he
              shall be screened from discussions regarding this matter.

       2)     The parties are hereby notified accordingly.

       DATED this 15th day of December, 2010.

                                            BY THE COURT:
                                            s/ Cheryl R. Zwart
                                            United States Magistrate Judge
